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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                          Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                            Defendant


                                     [PROPOSED] ORDER

       On September 4, 2020, the government and counsel for General Michael T. Flynn filed a

joint status report and a motion to expedite. Prior to filing this motion, the parties consulted with

the Court-appointed amicus curiae, who concurred in the proposed expedited schedule.

       Upon consideration of these requests, and for the reasons stated in the joint motion, it is

hereby ORDERED that the Court-appointed amicus curiae shall file his reply brief, on

September 11, 2020.

       It is further ORDERED that the filing of the reply brief on September 11, 2020, shall

complete the briefing on the government’s motion to dismiss.

       It is further ORDERED that oral argument on the government’s motion to dismiss is

hereby scheduled for September __, 2020.

       IT IS SO ORDERED.



                                              __________________________________
                                              The Honorable Emmet G. Sullivan
                                              United States District Judge
